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 5
     Attorney for Defendant, RAMON ANDRADE
 6

 7                                 UNITED STATES DISTRICT COURT
 8                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
                                       FRESNO DIVISION

10
     UNITED STATES OF AMERICA,                        )   Case No.: 1:12CR-328-LJO
11                                                    )
                    Plaintiff,                        )   STIPULATION TO CONTINUE
12                                                    )   AND ORDER
            vs.                                       )
13                                                    )
     RAMON ANDRADE,                                   )   Date: September 22, 2014
14                                                    )
                    Defendant.                        )   Time: 8:30 a.m.
15                                                    )   The Honorable Lawrence J. O’Neill
                                                      )
16

17          Defendant, Ramon Andrade, by and through his attorney, Michael R. McDonnell, and
18
     the United States of America, by and through its attorney, Kathleen Servatius, Assistant U.S.
19
     Attorney, hereby stipulate to the following request:
20
            That the sentencing hearing scheduled for September 22, 2014, be continued to
21

22   November 3, 2014, at 8:30 a.m. There has been no previous request for continuance, and it is

23   anticipated that there will be no further such request.
24
            Counsel learned this week information from the defendant that could significantly
25
     impact the ultimate sentence to be imposed.
26

27
            Counsel has discussed this information with the assigned Assistant U.S. Attorney,

28   Kathleen Servatius, and she has agreed to stipulate to the continuance in order to provide




       Stipulation to Continue 1
       USA Ramon Andrade 12CR328 LJO
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 1   sufficient time for counsel to explore this information. Delay in sentencing is waived per the
 2
     Speedy Trial Act.
 3

 4
     Dated: September 16, 2014
 5

 6   /s/ Kathleen Servatius                       /s/ Michael R. McDonnell
     Assistant U.S. Attorney                      MICHAEL R. McDONNELL
 7
                                                  Attorney for Defendant
 8                                                Ramon Andrade

 9

10

11                                            ORDER

12   Continuance granted. The intervening period of delay is excused in the interest of justice,
13
     pursuant to 18 USC §3161 (h) (8) (B) (iv).
14

15
     IT IS SO ORDERED.
16

17      Dated:     September 18, 2014                     /s/ Lawrence J. O’Neill
                                                     UNITED STATES DISTRICT JUDGE
18

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       Stipulation to Continue 2
       USA Ramon Andrade 12CR328 LJO
